            Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 1 of 9



UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA
____________________________________________________

KATHLEEN LANGSTON,

                     Plaintiff                                           Dkt. no.

       v.
                                                                         COMPLAINT
MILTON S. HERSHEY MEDICAL CENTER, EVANGELOS
MASSARIS, M.D., Ph. D.,. WALTER KOTHUL, CHIEF OF
COLORECTAL AND RECTAL SURGERY, MOUNT NITTANY
MEDICAL CENTER, and MADHAVI SINGH, M.D.

                     Defendants

_____________________________________________________

Plaintiff, by her attorneys, Aaron David Frishberg, and Bonnie L. Kift, complaining of the

acts of Defendants, states as follows;

                                      JURISDICTION

1.     This Court has subject matter jurisdiction over the acts of Defendants MILTON S.

HERSHEY MEDICAL CENTER (“HERSHEY’), EVANGELOS MASSARIS, M.D., Ph. D.,.

WALTER KOTHUL,. and MT. NITTANY MEDICAL CENTER, (“MT. NITTANY”) pursuant

to 28 U.S.C. § 1343, to redress violations of Plaintiff’s civil rights under color of law under

42 U.S.C. § 1983 and/or in violation of her right to reasonable modifications of programs

under the Americans with Disabilities Act, and the Rehabilitation Act of 1973.

2.     This Court has jurisdiction pursuant to 42 U.S.C. § 1395

(d) (2) (A) over Defendants HERSHEY and MT. NITTANY’s violations of the Emergency

Medical Treatment and Active Labor Act (“EMTALA”) following Plaintiff’s emergency

admissions and inappropriate transfers or discharges.

3.     This Court also has diversity of citizenship jurisdiction pursuant to 28 U.S.C. § 1331
         Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 2 of 9



over Plaintiff’s common law and state law claims, which are greater than seventy-five

thousand dollars against each party.

                                          VENUE

4.     Venue is properly laid in the Middle District of Pennsylvania, where the events

complained of occurred and where Defendants reside.

                                         PARTIES

5.     At all times mentioned herein, Plaintiff, KATHLEEN LANGSTON, was a citizen

of the United States residing in Pennsylvania. She is now a citizen and resident of Virginia.

At all times mentioned herein she has been disabled within the meaning of the Americans

with Disabilities Act and the Rehabilitation Act of 1973.

6.     Defendant MILTON S. HERSHEY MEDICAL CENTER, (“HERSHEY”) at all times

mentioned herein, has been a hospital affiliated with the University of Pennsylvania. At all

times mentioned herein it had contracted with the United States Department of Health and

Human Services to provide medical services to Medicare patients in need of emergency

medical treatment, and has been a recipient of federal funds.

7.     Defendant EVANGELOS MASSARIS at all times mentioned herein was a surgeon

employed by HERSHEY.

8.     At all times mentioned herein, Defendant WALTER KOTHUL was the Chief of

Colorectal Surgery at HERSHEY, and as such was directly responsible for supervising

Defendant MASSARIS in the performance of the ileostomy on Plaintiff’s person, including

the choice of this surgery.

9.     Defendant MT. NITTANY MEDICAL CENTER (“MT. NITTANY”) at all times

mentioned herein was a hospital organized under the laws of Pennsylvania located in State
         Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 3 of 9



College, PA, and all times mentioned herein had contracted with the United States

Department of Health and Human Services to provide medical services to Medicare patients

in need of emergency medical treatment, and has been a recipient of federal funds.

10.   At all times mentioned herein, Defendant MADHAVI SINGH was a physician

employed by MT. NITTANY.

                                           FACTS

                            AS A FIRST CLAIM FOR RELIEF

11.   Plaintiff suffers from chronic Krohn’s Disease and diabetes.

12.   Plaintiff had a perianal fistula which originated in 1997, and which had resulted in the

 loss of about two feet from the small intestine, and chronic diarrhea.

13.   Defendant MASSARIS, under the supervision of Defendant KOTHUL, elected to

perform and on March 14, 2013 did perform an ileostomy on Plaintiff.

14.   Defendant MASSARIS misinformed Plaintiff that she might have a temporary ostomy

rather than a health threatening high output ileostomy.

15.   There is a fifty to eighty percent failure rate of perianal repairs in patients with

Krohn’s Disease.

16.   Had Plaintiff been informed of the risks and alternatives that a reasonably prudent

patient would require to make an informed decision as to that procedure, receiving such

information would have been a substantial factor in the patient’s decision whether to

undergo the procedure.

17.   Defendant MASSARIS held himself out as knowledgeable about the risks of the

procedure and the proper method of performing surgery on a patient with Krohn’s disease,

and thus knowingly misrepresented hi professional experience.
          Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 4 of 9



18.   The operation resulted in a very high output ileostomy.

19.   While Plaintniff was at HERSHEY, Defendant MASSARIS failed to monitor her

ostomy output.

20.   On October 18, 2013, Defendant MASSARIS, under the supervision of Defendant

 KOTHUL, continued his reckless disregard for Plaintiff’s well-being by prematurely

discharging her from HERSHEY while she was still ill, requiring her to take a ninety-mile cab

ride to an empty house.

21.   About thirty hours after her premature discharge from HERSHEY, Plainitiff drove

herself to the Emergency Department of MT. NITTANY

22.   At MT. NITTANY, Defendant SINGH refused to give Plaintiff adequate hydration, or to

consult with Plainitiff’s family physician or gastroenterologist.

23.   The staff of MT. NITTANY was attempting to discharge Plaintiff when Plaintiff went into

renal failure.

24.   On October 20, 2013, Plaintiff was transferred from MT. NITTANY to HERSHEY due

to renal failure.

25.   HERSHEY then attempted to discharge Plaintiff to her empty house, and Plaintiff had

to call on her son to advocate for her, and arrange for her own admission to a nursing home

for two weeks.

26.   On March 27, 2013, Plaintiff began experiencing leg cramps. Residents consulted with

Defendant MASSARI, and called back with the instruction that Plaintiff was to drink a quart of

Gatorade. Plaintiff would later be told by Defendant SINGH that Gatorade was the worst

possible choice for a patient with Krohn’s Disease.

27.   When the cramps continued for hours, Plaintiff was told by the resident to go to the local
           Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 5 of 9



hospital to be hydrated, which she did.

28.   Meanwhile, between October 21 and 23, 2013, Plaintiff was unable to have an ostomy

bag attached and remain in place. Plaintiff was in excruciating pain when an ostomy bag was

being attached.

29.   On October 21, 2013, Plaintiff was unable to apply a new appliance, and eventually

arranged to be transported to MT. NITTANY

30.   Plaintiff was treated in the Emergency Department, while the nurses attempted to fit

new appliances to her abdomen.

31.   Plaintiff was told by one doctor that she wasn’t sick, and should go home, and she was

sent to a room.

32.   On October 24, 2013, Plaintiff was told she had not been admitted to the hospital but

was being kept for observation, and Defendant SINGH told her to go home and refused to give

her IVs.

33.   As a result of Defendant SINGH’s refusal to give her IVs, Plaintiff developed severe leg,

arm, and back spasms, which intensified during the multiple ostomy appliance applications.

34.   Defendant SINGH refused to give Plaintiff electrolytes because, she said that Plaintiff’s

lab tests showed that Plaintiff’s magnesium and potassium levels were “normal.”

35.   Defendant SINGH refused to consult with Plaintiff’s treating physician. who would have

confirmed Plaintiff’s contention that “normal” was not normal for her.

36.   Plaintiff continued to dehydrate on October 23, 2013, and passed out while walking to

the bathroom, and was caught by a nurse.

37.   A nurse observed Plaintiff’s arm in spasm, and spoke to Defendant SINGH, who ordered

blood tests which showed that her renal functions were nine times as high as they should have
            Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 6 of 9



been.

38.     Plaintiff was sent out for CAT scans of her abdomen and kidneys, and Defendant SINGH

acknowledged that Plaintiff might be in renal failure and ordered continuous IVs.

39.     On October 23, 2013, at about 3 p.m., Plaintiff developed severe acid vice-like rib pain,

which continued and worsened through the day and evening, preventing Plaintiff from being able

to sleep.

40.     On October 24, 2013, Defendant SINGH told Plaintiff that her creatinine level was 4, but

that hopefully the damage was repairable. Normal creatinine levels in women are 88 to 128.

41.     On October 26, 2013, Plaintiff’s ostomy bag seals failed twice. Plaintiff experienced

terrible pain and asked to speak with Defendant SINGH about pain management. But when

Defendant SINGH did meet with with Plaintiff in the afternoon, Defendant SINGH did not address

the issue of pain management.

42.     Plaintiff continued to experience excruciating pain, and was not allowed out of bed without

a staff member, because she had passed out. Therefore when the ostomy bag seal failed at

1:00 p.m., she was left in a pool of bile until the staff could help her.

43.     At 3:00 p.m., Plaintiff developed vice-like rib pain in her ribs, which continued and

increased as the day progressed. Between 3:00 p.m. and 5:00 p.m. there were three appliance

seal failures. Plaintiff described the the experience of the bag changes as “pure torture.”

44.     On March 27, 2013, the nurse implored Defendant SINGH to help Plainitiff, while Plaintiff’s

pain continued.

45.     When HERSHEY was informed of Plaintiff’s condition, it immediately reserved a bed for

her, and Plaintiff was transported to HERSHEY by ambulance.

46.     On October 27, 2013, Plaintiff was told by HERSHEY personnel that she was medically
          Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 7 of 9



ready for discharge and could be discharged to a non-skilled rehabilitation facility.

47.    That morning, Plaintiff was experiencing severely painful leg cramps.

48.    Because Plaintiff was unable to locate a rehabilitation facility near her home community

with beds available, Plaintiff was sent home to an empty house by cab.

49.    Plainttff was told by HERSHEY that she did not qualify for home care,.

50.    At Plaintiff’s request, HERSHEY found a rehabilitation facility for her, and she was

transferred to Manor Care, in Carlisle, PA.

51.    HERSHEY did not send prescriptions for Plaintiff’s pain killer prescriptions or other

medication presccriptions to Manor Care.

52.    As a result, Plaintiff was not able to get her prescriptions until 5:30 a.m. the next morning.

53.    Plaintiff left the Manor Home on November 15, 2013.

54.    However, her health did not begin to improve until the ostomy was reversed in a surgery

performed at Harrisburg Hospital in late July, 2014.

55.    The acts and omissions of Defendant MASSARIS, and the failure to supervise MASSARIS

by Defendants HERSHEY and KOTHO deprived Plaintiff of due process of law by subjecting her

to medical care which recklessly disregarded her well-being and caused her injury.

                               AS A SECOND CLAIM FOR RELIEF

56.    Plaintiff repeats as if stated here in full ¶¶ 1-55 of this Complaint.

57.    Defendants HERSHEY and MT. NITTANY deprived Plaintiff of reasonable modifications

of their programs and services to provide her with equal treatment and ability to participate in

the receipt of medical services which were adapted to her disabilities by providing services by

physicians and surgeons qualified to treat Krohn’s patients with diabetes, in violation of the

Ameircians with Disabilities Act.
          Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 8 of 9



                               AS A THIRD CLAIM FOR RELIEF

58.   Plaintiff repeats as if stated here in full ¶¶ 1-57 of this Complaint.

59.   Defendants HERSHEY and MT. NITTANY were at all times mentioned herein recipients of

federal funds.

60.   These Defendants violated the Rehabilitation Act of 1973, 29 U.S.C § 794.

                              AS A FOURTH CLAIM FOR RELIEF

61.   Plaintiff repeats as if stated here in full ¶¶ 1-60 of this Complaint.

62.   Both Defendants HERSHEY and MT. NITTANY at all times mentioned herein had contracts

with the United States Department of Health and Human Services fopr the provision of emergency

medical services to Medicare patients.

63.   Both Defendants HERSHEY and MT. NITTANY violated the Emergency Medical Treatment

 and Active Labor Act (“EMTALA”) by discharging Plaintiff when she had been admitted for

emergency treatment and/or by inappropriately transferring her to an inappropriate placement,

when her condition was not stabilized.

                                AS A FIFTH CLAIM FOR RELIEF

64.   Plaintiff repeats as if stated here in full ¶¶ 1-63 of this Complaint.

65.   Defendants MASSARIS, HERSHEY, SINGH, and MT. NITTANY departed from the

standards of care of the medical and surgical professions.

66.   Defendants MASSARIS and SINGH acted with wanton and reckless disregard for Plaintiff’s

well-being and health.

                                AS A SIXTH CLAIM FOR RELIEF

67.   Plaintiff repeats as if stated here in full ¶¶ 1-66 of this Complaint.

68.   Defendant MASSARIS, under the supervision of Defendants KOTHUL and HERSHEY,
          Case 1:15-cv-02027-CCC Document 1 Filed 10/14/15 Page 9 of 9



failed to inform Plaintiff of the risks, and alternatives to the ileostomy procedure, and knowingly

misrepresented his professional experinece with performing surgery to correct conditions caused

by Krohn’s disease and thus denied Plaintiff the right to not be subject to a procedure without her

informed consent.

Wherefore, Plaintiff respectfully requests that this Court enter judgment against Defendants for

compensatory damages on her causes of action, for punitive damages against Defendants

MASSARIS and SINGH, an injunction requiring Defendant NITTANY to modify its practices to

accommodate patients with disabilities, and for reasonable attorneys’ fees and the costs of this

action, together with such further, other and different relief as this Court deems just in the premises.

                                    JURY DEMAND

A jury trial is demanded of all issues triable by jury.



                                                          Yours, etc.

                                                          /s/

                                                          Aaron David Frishberg
                                                          pro hac vice admission pending
                                                          20 E. First Street, Suite 204
                                                          Mt. Vernon, NY 10550
                                                          212 740 4544
                                                          lawyerADF@aol.com

                                                          Bonnie L. Kift
                                                          121 Saint Clair Circle
                                                          Ligonier, PA 15658
                                                          724 238-2410
                                                          attyblkift@gmail.com
Mt. Vernon, NY
October 12, 2015
